Case 5:17-cv-05089-TLB Document 68                 Filed 10/11/17 Page 1 of 2 PageID #: 573



                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

JILL DILLARD, JESSA SEAWALD,
JINGER VUOLO, and JOY DUGGAR,                                                            PLAINTIFFS

VS.                                   NO. 5:17-cv-5089-TLB

CITY OF SPRINGDALE, ARKANSAS;
WASHINGTON COUNTY, ARKANSAS;
KATHY O’KELLEY, in her individual
and official capacities; ERNEST CATE, in
his individual and official capacities; RICK HOYT,
in his individual and official capacities;
STEVE ZEGA , in his official capacity;
BAUER PUBLISHING COMPANY, L.P.;
BAUER MAGAZINE L.P.; BAUER
MEDIA GROUP, L.P.; BAUER, INC.;
HEINRICH BAUER NORTH AMERICA, INC.;
BAUER MEDIA GROUP USA, LLC; and
DOES 1-10, inclusive                                                                DEFENDANTS

                  MOTION TO ADOPT, INCORPORATE, AND JOIN
             SPRINGDALE DEFENDANTS’ RENEWED MOTION TO STAY
       Comes now Separate Washington County Defendant Rick Hoyt, in his individual capacity,

and for his Motion to Adopt and Join Springdale Defendants’ Renewed Motion to Stay, states as

follows:

       1.      On October 10, 2017, the Separate City of Springdale Defendants filed a Renewed

Motion to Stay and Brief in Support. Doc ## 65 & 66.

       2.      Separate Washington County Defendant Rick Hoyt, in his individual capacity, adopts

and incorporates by reference, as if set forth herein word for word, the form and substance of the

Springdale Defendants’ Renewed Motion for Stay and Brief in Support (Doc. ## 65 & 66), pursuant

to Fed. R. Civ. P. 10(c), and hereby joins in the same motion.

       WHEREFORE, Separate Washington County Defendant Rick Hoyt, in his individual

capacity, adopts, incorporates, and joins in the Springdale Defendants’ renewed motion for stay and

respectfully requests a stay of this case for the same reasons set out in that motion.
Case 5:17-cv-05089-TLB Document 68                Filed 10/11/17 Page 2 of 2 PageID #: 574



                                             Respectfully submitted,

                                             RICK HOYT, in his individual capacity, Separate
                                             Defendant

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                                      By:      /s/Jason E. Owens
                                             Michael R. Rainwater, #79234
                                             Jason E. Owens, #2003003




                                CERTIFICATE OF SERVICE
       I hereby certify that on the 11th day of October, 2017, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will notify all counsel of record.




                                               /s/ Jason E. Owens
                                             Jason E. Owens
